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                      IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW MEXICO

MARISA ZUNIGA,

                      Plaintiff,

vs.                                                  Cause No. 2:20-cv-00487-KG/CG

TRUEACCORD,

                      Defendant.

               STIPULATED ORDER OF DISMISSAL WITH PREJUDICE

       This matter is before the Court on the Parties’ Joint Motion to Dismiss Plaintiff’s

Complaint with Prejudice. The Court, having considered the Motion and being informed that the

Parties have reached agreement and resolved all disputed matters between them, finds that the

Motion is well taken and should be GRANTED.

       IT IS HEREBY ORDERED that Plaintiff Marisa Zuniga’s Complaint and all claims

made or which could have been made against Defendant TrueAccord are hereby DISMISSED

WITH PREJUDICE, with each party bearing its own costs and attorney’s fees.




                                     ________________________________ ______
                                     UNITED STATES DISTRICT JUDGE
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Submitted by:

MODRALL, SPERLING, ROEHL, HARRIS & SISK, P.A.

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